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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION (CINCINNATI)

PHILLIP R. KELLEY, Individually and as      )   Civil Action No: 1:18-cv-290
Administrator of the Estate of Meranda I.   )
Kelley, Deceased,                           )   (Judge                          )
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )
                                            )
MERCY HEALTH - FAIRFIELD                    )
HOSPITAL, LLC,                              )
                                            )
              and                           )
                                            )
CHARLES A. HUFF, N.P.,                      )
                                            )
              and                           )
                                            )
EMILY N. WOODALL, P.A.,                     )
                                            )
              and                           )
                                            )
ZULFIKAR A. SHARIF, M.D.,                   )   COMPLAINT FOR MEDICAL
                                            )   NEGLIGENCE AND WRONGFUL
              and                           )   DEATH
                                            )
DANIEL C. ECKERT, M.D.,                     )   (Jury Demand Endorsed Hereon)
                                            )
              and                           )
                                            )
WILLIAM H. COOK, M.D.,                      )
                                            )
              and                           )
                                            )
CHARLES L. MESH, M.D.,                      )
                                            )
              and                           )
                                            )
MERCY HEALTH PHYSICIANS, LLC                )
dba Mercy Health - Cardiovascular and       )
Thoracic Surgeons,                          )
                                            )
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               and                               )
                                                 )
MERCY HEALTH PHYSICIANS                          )
CINCINNATI, LLC, dba Mercy Health -              )
The Heart Institute,                             )
                                                 )
               and                               )
                                                 )
JOHN DOES (1-99)                                 )
(Names and addresses unknown),                   )
                                                 )
               Defendants.                       )
                                                 )


       Plaintiff, Phillip R. Kelley, individually and as Administrator of the Estate of

Meranda I. Kelley, deceased, for his Complaint for Medical Negligence and Wrongful Death,

against Defendants, Mercy Health – Fairfield Hospital, LLC, Charles A. Huff, N.P., Emily N.

Woodall, P.A., Zulfikar A. Sharif, M.D., William H. Cook, M.D., Charles L. Mesh, M.D.,

Daniel C. Eckert, M.D., Mercy Health Physicians, LLC, dba Mercy Health – Cardiovascular

and Thoracic Surgeons, Mercy Health Physicians Cincinnati, LLC, dba Mercy Health – The

Heart Institute, Fairfield, and John Does (1-99), states and alleges as follows.

       I.    PARTIES, JURISDICTION AND VENUE

       1.    Pursuant to letters of administration issued by the Circuit Court of Fayette

County, Indiana, in In re Estate of Meranda Irene Kelley, Case No. 21C01-1612-EU-65,

Plaintiff, a citizen and resident of Connorsville, Indiana, is the duly appointed administrator

of the Estate of Meranda Irene Kelley, deceased.

       2.    At all relevant times, Plaintiff’s decedent and spouse, Meranda I. Kelley, was a

citizen and resident of Connersville, Indiana.




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        3.    Defendant, Mercy Health – Fairfield Hospital, LLC (“Fairfield Hospital”), is an

Ohio non-profit limited liability company with its principal place of business in Fairfield,

Ohio.

        4.    Charles A. Huff, N.P., is a licensed nurse practitioner and a citizen and resident

of Liberty Township, Butler County, Ohio.

        5.    Emily N. Woodall, P.A., is a licensed physician assistant and a citizen and

resident of Fairfield, Ohio.

        6.    Defendant, Zulfikar A. Sharif, M.D., is a licensed physician specializing in

cardiothoracic surgery and a citizen and resident of Cincinnati, Ohio.

        7.    Defendant, William H. Cook, M.D., is a licensed physician specializing in

cardiothoracic surgery and a citizen and resident of Blue Ash, Ohio.

        8.    Defendant, Charles L. Mesh, M.D., is a licensed physician specializing in

vascular surgery and a citizen and resident of Cincinnati, Ohio.

        9.    Defendant, Daniel C. Eckert, M.D., is a licensed physician specializing in

cardiology and a citizen and resident of Mason, Ohio.

        10.   Defendant, Mercy Health Physicians, LLC, dba Mercy Health – Cardiovascular

and Thoracic Surgeons (“MHP”), is an Ohio limited liability company with its principal

place of business in Cincinnati, Ohio.

        11.   Defendant, Mercy Health Physicians Cincinnati, LLC, dba Mercy Health – The

Heart Institute, Fairfield (“MHPC”), is an Ohio limited liability company with its principal

place of business in Cincinnati, Ohio.




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        12.    Defendants, John Does (1-99), are persons or entities, whose identities and

addresses are currently unknown to Plaintiff, who are citizens of Ohio, and who are liable for

injuries sustained by Plaintiff and his decedent.

        13.    This court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1332(a)(1), because there is complete diversity of citizenship between the parties, and the

amount in controversy exceeds $75,000.00, exclusive of interest and costs.

        14.    This court has personal jurisdiction over the defendants, because they are

citizens and residents of Ohio and this judicial district, and because the events giving rise to

Plaintiff’s claims occurred in this judicial district.

        15.    Venue is proper in this court pursuant to 28 U.S.C. § 1391(a)(1), because at

least one of the defendants resides in this judicial district, and all defendants reside in the

State of Ohio.

        16.    Venue is also proper in this court pursuant to 28 U.S.C. § 1391(a)(2), because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

judicial district.

        17.    This action has been timely filed pursuant to Sections 2305.113(B)(1) and

2125.02(D)(1) of the Ohio Revised Code.

        II.    FACTS COMMON TO ALL CLAIMS FOR RELIEF

        18.    On Saturday, October 22, 2016, Plaintiff’s decedent, 56, was discharged from

Fairfield Hospital after undergoing a two-vessel coronary artery bypass graft operation.

        19.    During her thirteen-day Fairfield Hospital admission ending on Saturday,

October 22, 2016, Plaintiff’s decedent was under the direct care and supervision of

Defendants Huff, Sharif, Cook, Eckert, and John Does (1-99).


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       20.   During her thirteen-day Fairfield Hospital admission ending on Saturday,

October 22, 2016, Defendants Huff, Sharif, Cook, Eckert, and John Does (1-99) failed to

screen Plaintiff’s decedent for heparin-induced platelet antibody within applicable medical

and nursing standards of care.

       21.   During her thirteen-day Fairfield Hospital admission ending on Saturday,

October 22, 2016, Defendants Huff, Sharif, Cook, Eckert, and John Does (1-99) failed to

diagnose and treat Plaintiff’s decedent’s susceptibility to heparin-induced thrombocytopenia

and thrombosis thereby breaching applicable medical and nursing standards of care.

       22.   On Friday, October 28, 2016, Plaintiff’s decedent returned to the emergency

department of Fairfield Hospital with symptoms of widespread arterial and venous

thrombosis, and pulmonary emboli.

       23.   On Friday, October 28, 2016, Defendants Woodall, Mesh and John Does (1-99)

ordered heparin as a remedy for Plaintiff’s decedent’s symptoms of widespread arterial and

venous thrombosis and pulmonary emboli before adequately screening her for heparin-

induced platelet antibody.

       24.   On Friday, October 28, 2016, Defendants Woodall, Mesh and John Does (1-99)

failed to diagnose and treat Plaintiff’s decedent’s susceptibility to heparin-induced

thrombocytopenia and thrombosis thereby breaching applicable medical standards of care.

       25.   Just after midnight on Saturday, October 29, 2016, Plaintiff’s decedent had a

massive ischemic stroke; whereupon, she was transferred to the University of Cincinnati

Medical Center for evaluation and treatment by its stroke team.




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       26.   During her fifteen-hour Mercy Health – Fairfield Hospital admission ending on

Saturday, October 29, 2016, Plaintiff’s decedent was under the direct care and supervision of

Defendants Woodall, Mesh and John Does (1-99).

       27.   On Saturday, October 29, 2016, at 7:11 p.m., Plaintiff’s decedent died at

University of Cincinnati Medical Center due to complications of a massive ischemic stroke

caused by heparin-induced thrombocytopenia and thrombosis.

                              FIRST CLAIM FOR RELIEF
 (Medical Negligence against Defendants Huff, Sharif, Cook, Eckert, and John Does (1-99))

       28.   Plaintiff incorporates by reference the allegations in Paragraphs 1 through 27

above as if fully rewritten herein.

       29. At all relevant times, Defendants, Huff, Sharif, Cook, Eckert and John Does (1-

99), each had a legal duty to exercise the degree of skill, care, knowledge and diligence of

reasonable medical practitioners in their specialties relative to their diagnoses, care and

treatment of Plaintiff’s decedent, Meranda Kelley.

       30.   At all relevant times, Defendants, Huff, Sharif, Cook, Eckert and John Does (1-

99), each breached their legal duties of care by failing to screen Plaintiff’s decedent for

heparin-induced platelet antibody within applicable medical and nursing standards of care.

       31.   At all relevant times, Defendants, Huff, Sharif, Cook, Eckert and John Does (1-

99), each breached their legal duties of care by failing to diagnose and treat Plaintiff’s

decedent for her susceptibility to heparin-induced thrombocytopenia and thrombosis.

       32.   As a direct and proximate result of the aforementioned breaches of legal duty,

Plaintiff’s decedent contracted avoidable heparin-induced thrombocytopenia and thrombosis.

       33.   As a direct and proximate result of the aforementioned breaches of legal duty,

Plaintiff’s decedent suffered severe pain, suffering, disability, and emotional distress, and

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incurred medical expenses exceeding $75,000, along with other economic and non-economic

losses.

          34.   As a direct and proximate result of the negligence of Defendants, Huff, Sharif,

Cook, Eckert and John Does (1-99), Plaintiff’s decedent was damaged in an amount to be

determined at trial, which amount exceeds $75,000.

                               SECOND CLAIM FOR RELIEF
          (Medical Negligence against Defendants Woodall, Mesh and John Does (1-99))

          35.   Plaintiff incorporates by reference the allegations in Paragraphs 1 through 34

above as if fully rewritten herein.

          36. At all relevant times, Defendants Woodall, Mesh and John Does (1-99) had a

legal duty to exercise the degree of skill, care, knowledge and diligence of a reasonable

medical practitioners in their fields relative to their diagnoses, care and treatment of

Plaintiff’s decedent, Meranda Kelley.

          37.   At all relevant times, Defendants Woodall, Mesh and John Does (1-99)

breached their legal duties of care by failing to screen Plaintiff’s decedent for heparin-

induced platelet antibody within applicable medical standards of care.

          38.   On Friday, October 28, 2016, Defendants Woodall, Mesh and John Does (1-99)

failed to diagnose and treat Plaintiff’s decedent’s susceptibility to heparin-induced

thrombocytopenia and thrombosis thereby breaching applicable medical standards of care.

          39.   On Friday, October 28, 2016, Plaintiff’s decedent received heparin on orders

from Defendants Woodall, Mesh and John Does (1-99) in breach of applicable medical

standards of care

          40.   As a direct and proximate result of the aforementioned breaches of legal duty,

Plaintiff’s decedent contracted avoidable heparin-induced thrombocytopenia and thrombosis.

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          41.   As a direct and proximate result of the aforementioned breaches of legal duty,

Plaintiff’s decedent suffered severe pain, suffering, disability, and emotional distress, and

incurred medical expenses exceeding $75,000, along with other economic and non-economic

losses.

          42.   As a direct and proximate result of the negligence of Defendants Woodall, Mesh

and John Does (1-99), Plaintiff’s decedent was damaged in an amount to be determined at

trial, which amount exceeds $75,000.

                                   THIRD CLAIM FOR RELIEF
                                       (Wrongful Death)

          43.   Plaintiff incorporates by reference the allegations in paragraphs 1 through 42

above as if fully rewritten herein.

          44.   Plaintiff’s decedent died on October 29, 2016, due to acute complications of a

massive and preventable ischemic stroke as a direct and proximate result of heparin-induced

thrombocytopenia and thrombosis and Defendants’ negligence.

          45.   Plaintiff’s decedent is survived by her husband, Plaintiff, Phillip R. Kelley, who

is a beneficiary of this action.

          46.   Plaintiff’s decedent, age 56, had a life expectancy of more than ten years at the

time of her death.

          47.   Plaintiff has suffered damages for the loss of his decedent’s society over her life

expectancy, including loss of companionship, consortium, care, assistance, attention,

protection, advice, guidance, and counsel.

          48.   Plaintiff has also suffered damages for the mental anguish caused by his wife’s

death.



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       49.     As a direct and proximate result of Defendants’ negligence, and the

consequential death of Meranda Kelley, Mrs. Kelley’s beneficially entitled next of kin are

entitled to damages under Ohio’s Wrongful Death Statute, Chapter 2125 of the Ohio Revised

Code, including without limitation:

               a.      Reasonable medical, hospital, funeral and burial expenses;

               b.      conscious pain and suffering;

               c.      loss of financial support;

               d.      loss of services;

               e.      loss of society and companionship;

               f.      loss of advice, guidance, counsel, instruction, training and education;

               g.      loss of gifts and other valuable gratuities; and

               h.      mental anguish incurred by the beneficially entitled next of kin.

                              FOURTH CLAIM FOR RELIEF
                      (Vicarious Liability against Corporate Defendants)

       50.   Plaintiff incorporates by reference the allegations in Paragraphs 1 through 49

above as if fully rewritten herein.

       51.   At all relevant times, Defendants Huff, Woodall, and John Does (1-99) were

employees or agents of Fairfield Hospital acting within the course and scope of their

employment or agency.

       52.   At all relevant times, Defendants Sharif, Cook, Mesh, and John Does (1-99)

were employees or agents of MHP acting within the course and scope of their employment or

agency.

       53.   At all relevant times, Defendants Eckert and John Does (1-99) were employees

or agents of MHPC acting within the course and scope of their employment or agency.

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       54.   At all relevant times, Defendants John Does (1-99) were employees or agents of

John Does (1-99) acting within the course and scope of their employment or agency.

       55.   Fairfield Hospital, MHP, MHPC, and John Does (1-99) are liable for the

injuries and damages Plaintiff has sustained due to the negligence of their employees or

agents under the doctrine of respondeat superior.

       WHEREFORE, Plaintiff, Phillip R. Kelley, individually and as Administrator of the

Estate of Meranda I. Kelley, deceased, demands judgment against the defendants, jointly and

severally, for the damages naturally and proximately resulting from their negligence, which

damages far exceed the sum of $75,000, and to be proven at trial, for the costs of these

proceedings, and for such other and further relief at law or in equity to which they are

entitled under Ohio law.

                                                 Respectfully submitted,


                                                 /s/ Thomas J. Intili
                                                 Thomas J. Intili, Trial Attorney (0036843)
                                                 Danielle A. Groves (0081136)
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                                                 Attorneys for Plaintiff


                                       JURY DEMAND

       Plaintiffs demand a trial by jury as to all issues so triable.


                                                 /s/ Thomas J. Intili
                                                 Thomas J. Intili, Trial Attorney for Plaintiff
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